Case: 1:15-cv-02711 Document #: 1 Filed: 03/24/15 Page 1 of 1 PagelD #:1

IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF ILLINOIS

Daryl Adkins, et al.,
Case No: 14 C 1456

vs
Chief Judge Ruben Castillo

Illinois Bell Telephone Company
d/b/a AT&T Illinois,

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Winston Hodges
ORDER

Enter Memorandum Opinion and Order. Illinois Bell’s motion to dismiss the second amended
complaint for misjoinder and to sever [115] is granted. The Clerk of Court is directed to sever
the claims of all the Plaintiffs except Adkins from this case, and to assign separate docket
numbers to each of those actions. Plaintiffs are directed to file separate amended complaints
containing only their claims on or before July 30, 2015. The severed Plaintiffs must pay the
applicable filing fee when they file their amended complaints. Failure to file an amended
complaint will result in dismissal of that Plaintiff's case. The next status hearing in the Adkins

case is set for 4/29/2015 at 9:45 a.m.

Date: March 24, 2015 /s/ Chief Judge Ruben Castillo

1:15-cv-02711
Judge St. Eve
Mag. Judge Schenkier

 
